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Joyce W. Lindauer
State Bar No. 21555700
12720 Hillcrest Road, Suite 625
Dallas, Texas 75230
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
ATTORNEYS FOR GARY TRUST

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                 §
                                                       §
STW Resources Holding Corp.,                           §          CASE NO. 16-33121-bjh11
                                                       §          Chapter 11
         Debtor.                                       §

                        WITNESS AND EXHIBIT LIST OF GARY TRUST

         Comes now Gary Trust, a creditor and party-in-interest in the above-styled and numbered

bankruptcy case, and files this its Witness and Exhibit List for the hearings scheduled on

November 1, 2016.

                                                Witnesses

         At the hearing, Gary Trust may call the following persons to testify as witnesses:

         1.      Gary Morris

         2.      Any witness designated by any other party

                                                Exhibits

         At the hearing Gary Trust may present one or more of the following exhibits:

 Exhibit                                 Description                          Offered     Admitted
  No.
   1     Docket Sheet

     2        Schedules of Assets and Liabilities [Docket No. 26]

     3        Amended Statement of Financial Affairs [Docket No. 53]




Witness and Exhibit List of Gary Trust
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 Exhibit                        Description                                       Offered      Admitted
  No.
   4     Gary Trust’s Motion to Convert Case to Chapter 7 [Docket
         No. 43]

     5       Debtor’s Response to Gary Trust’s Motion to Convert Case
             to Chapter 7 [Docket No. 62]

     6       Excerpt from Transcript of 341 Meeting of Creditors

     7       Any exhibits identified by any other party.



Debtor reserves the right to call or to introduce one or more, or none, of the witnesses and exhibits listed

above, and reserves the right to call additional witnesses and introduce additional exhibits in rebuttal.

Debtor further reserves the right to supplement this list prior to the hearing.

         Dated: October 24, 2012.

                                                            Respectfully Submitted

                                                            /s/ Joyce W. Lindauer
                                                            Joyce W. Lindauer
                                                            State Bar No. 21555700
                                                            Joyce W. Lindauer Attorney, PLLC
                                                            12720 Hillcrest Road, Suite 625
                                                            Dallas, Texas 75230
                                                            (972) 503-4033 Telephone
                                                            (972) 503-4034 Facsimile

                                                            ATTORNEYS FOR GARY TRUST


                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 27, 2016, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF filing system upon those
parties receiving electronic notice in this case.

                                                         /s/ Joyce W. Lindauer
                                                         Joyce W. Lindauer




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